CaSe: 2209-Cr-00054-.]LG-TPK DOC #Z 146 Filed: 11/08/11 Page: l Of 7 PAGE|D #Z 582

mac alma (a¢v. 06/05) iudgmml in a Criminal Cas=

 

 

 

 

 

 

 

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g-\ § s §§
. , _ ,
UNITED STATES DISTRICT COURT 533 == §
§ ' 2 § >‘»;_
Southern District of Ohio §.-. l :“_;3 tr
7- -l-_ ..j_~_ L._;_
mssz sTATEs 0F AMER.ICA JUDGMENT IN A CRIMrNAL CAsB'> ,. §/’ --_»':;
v 0 ='= § “"
DANLEL vANcE WALLs -'Z_E ‘-? §§
Case Number: CR2-09-54 (1© r~e m
~_»
USM Number: 67901-061
DAVID WINTERS, ssQ. 1 »_ 2
Dei`endant’s Auomcy ‘;, L_: §-, , -- l
THE DEFENDANT: --1-:;_¢'_: § _~.“:
X pleaded guilty to count(s) 1 and 2 of the Superseding Indictment z;j=;r-.r»'-:i a\: '_“`: ij --r
- . _ z w _? 'TJ I_
t:] pleaded nolo contendere to eount(s) _5_`1"f?‘(~_", --; i`,t;] l|j`_
which was accepted by the court. i: L 4 c §§ ‘ "'.~Jr "
_: ‘ _ c' .__ :._-Z
I:] was found guilty on count(s) f~_:, 5_ ) :,“. ry ¢:
afteraplea nfnotguilty. §:,L';_‘* -
The defendant is adjudicated guilty of these offenses:
’I`it|e & Seetion Nature ol' Oft`ense Of[ense Ended Count
21:841(:1)(1) Conspiracy to Distribute and Possess with lntent to Distribute 3/26/08 t
100 Kilograms or More of Marijuana
2 l:84 1(:1)(1) Attempt to Possess with Intent to Distribute Over 100 Ki]ograms 10117/04 2
of'Marijua.na

The defendant is sentenced as provided in pages 2 through

of this judgment The sentence is imposed Pursuant to
the Sentencing Ret`orrn Act of 1984.

[:] The defendant has been found not guilty on count(s)

 

X Count(s) 3 of the Superseding Indictment X is E] are dismissed on the motion of the United States.

It is ordered that the defendant _must notify the United States attorney for this district within 30 dan ot'any change ofname, residence,
or mailing address until all f'mes, restitution,_costs, and special assessments imposed by this Judgment are fu ly pa1d. If ordered to pay restitution,
the defendant must notify the court and Umted States attorney ot` material changes in economic circumstancesl

.Tulv 1, 2010
Date of Tmposition of Judgmcnt

T‘M\:_\/E§P/ %£/'

 

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Date

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Shecl 2 - Impri:;onmenr

.Iudgrnenl - Page of
DEFENDANI`: Daniel Vance Walls
CASE NUMBER: CR2-09-54 (l)

IN[PRI`SONMENT

The defendant is hereby committed to the custody of the United Statcs Bureau of Prisons to be imprisoned for a
total term of:

l 10 months on Counts l and 2 to be served concurrently with each other.

X'I`he court makes the following recommendations to the Bureau of Prisons:
That the defendant be placed in FCl Becklcy, West Virginia to serve his term of incarceration

i:]”l`he defendant is remanded to the custody of the United States Marshai.

i:l'l'he defendant shall surrender to the United States Marshal for this district
l:i at l:] a.m. l:] p.m. on

 

|:l as notified by the United States Mmhal.

X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
X before 2 p.m. on AUGUST 9, 2010
fl as notified by the United States Marshal.

El as notified by the Probation or Pretrial Services Off'ice.

RETU`RN

I have executed this judgment as follows:

Defendant delivered on jo "` (7_)§ '/0 to *I;Cj/?/’L/Mcé%

al i/i/\Qi/\C[€] L€§l’ iv , with a certified copy of this judgment

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By ,-
DEPU']'Y uNrren mines MARSHAL

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Sheet 3 f f Supcrviscd Relcase
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DEFENDANT: Daniel Vance Walls
CASE NUMBBR: CR2-09-54 (1)
SUPERVISED RELEASE

Upon release from iruprisonment, the defendant shall be on supervised release for a term of :

4 years on Counts l and 2 to be served concurrently with each other.

The defendant must report to the probation oH"ice in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another fedeml, state or local crirne.

The defendant shall not unlawfully possess a controlled substance The defendant shall refrain from any unlawful use of a controlled
substance The defendant shall submit to one drug test within 15 days of release ii'orn imprisonment and at least two periodic drug tests

tliereaf’ter, as determined by the court.
g The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
iiiture substance abuse. (Chcck, if applicable.)

X The defendant shall not possess a tirearm, amnmnition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the causation ofDNA as directed by the probation officer. (Checlr, if spplicable.)
[] The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a

student, as directed by the probation oH'icer. (Check, if applicable.)
|:I The defendant shall participate in an approved program for domestic violence (Check, if applicable.)

if this `udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule c Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation otheer;

9) the 1ti:lefend}zluit shall report to the probation ohicer and shall submit a truthful and complete written report within the first five days of
eac mont ;

3) the defendant shall answer truthfully all inquiries by the probation ohicer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupationl unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employrnent;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold1 used, distributed, or adrninistered;
9) the defendant shall not associate with any p;:rsons en§ag_ed in criminal activity and shall not associate with any person convicted of a
felony. unless granted perirussion to do so y the pro auon officer;

lO) the defendant shall permit a probation officer to yisit him or her at any time at horner or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation ofticer;

l l) the defendant shall notify the probation oEEcer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the eourt; and

13) as directed by the robation oli'icer, the defendant shall notify third parties _oi'rislts that may he occasioned by _the defendant’s criminal
record or ersonal1 history or characteristics and shall peirnit the probation officer to make such notifications and to confirm the

defendant s compliance with such notification requirement

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Judgment-Page of

 

DEFENDANT: Daniel Vance Walls
CASE NUMBER: CR2-09-54 (l)

SPECIAL CONDITIONS OF SUPERVISION

l) The defendant shall particcipate in a program of testing and treatment for alcohol and controlled substance abuse, as
directed by the U.S. Probation ffice, until such time as the defendant is released from the program by the probation office

2) The defendant shall participate in a program of mental health assessment and/or counseling, as directed by the United
States Probation Of`f`ice, until such time as the defendant is released from such program by the probation office

3) The defendant shall provide all personal financial information upon request by the probation oftice.

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A() 2458 (Re‘r. OEIOS) Iudgment in a Crimina'l Cas¢
Sheet 5 - Criminal Monetary Pcnallis

Judgrnent _ Page of

 

DEFENDANT: Daniel Vance Walls
CASE NUMBER: CR2-09-54 (1)
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Rectitutlon
TOTALS $ 200.00 $ 20,000.00 $ n/a
[I The determination of restitution is deferred until . An Amended Jndgment in a Crr'mz`nal Case (AO 245€} will be entered

after such determination
fl The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payrnent, each pa§ee shall receive an approximatel{`pro§ortioned ayrnent, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664 1}, all nonfederal victims must be paid
before the United States is patd.

Name of Payee 'l`otal Loss* Restltut.|on Ordered ?rioritv or Percentage
TOTALS 5 0 S 0

 

l:] Restitution amount ordered pursuant to plea agreement S

[] 'l'hc defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgrr)cnt, pursuant to 18 U.S.C. § 3612([). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
X the interest requirement is waived for the X fine [] restitution

[l the interest requirement for the l:l fine |:l restitutioniis modified as follows:

"' F indings for the total amount of losses are re uired under Chapters 109A, 110, llOA, and l 13A ofTitle 18 for offenses committed on or aher
Septembcr 13, 1994. but before April 23, 19 6.

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no rests (Rev. 35105} iudgn`i¢ni in n Crimin:ii C:ise
Sl'ieet 5 - Schedule of i’ayrnents

ludg'ment - l-'age of'
D EFENDANT: Daniel Vance Walls
CASE NUMBER.: CR2-09-54 (l)

SCHEDULE OF PAYMEN'I`S

llaving assessed the defendant‘s ability to pay, payment of the total criminal monetary penalties are due as follows:

A X Lump stun payment of $ 20 200.00 due innuediately, balance due

 

[:| not laterthan ,or
X inaccordance [] C, |:| D, X E,or X Fbelow;or

Payment to begin immediately (may be combined with |:| C, |___| D, or |:] F below); or

[:|

C |:| Payment in equal (e.g., weekly, month]y, quarterly) installments of 3 over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgrnent; or

D |:] Payment in equal (e.g., weekly, monthly, quarterly) installments of S over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term ofsupewision; or

E X Payment during the tenn of supervised release will commence within 60 days (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F X Special instructions regarding the payment of criminal monetary penalties:

Wliile incarcerated if the defendant is workin§`]i§a non-_UNICOR or Grade 5 UNICOR J'ob, he shall pa $25 per quarter toward
the fine obli§:artion. If working in a Grade 1-4 ICOR job the defendant shall pay 50 A of his monthly pay toward the fine
obligation y change in the schedule shall be made only by order of this Court.

_U nless the court has expresle ordered otherwise if this jud gment imposes irnprisonment, payment of criminal monetary penalties is due dun`rt
imprisonment All crimina monetar§ penalties, except those payments made throug the Federal Bureau of l’risons’ Inmatc Financia
Rcsponsibility P'rogram1 are made to t e clerk ot` the court.

'I`lie defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l:l lornt and Several

Defendant and Co-Defendant Narnes and Case Numbers (including defendant number), Total A.mount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution

The defendant shall pay the following court cost(s):

l:l

X The defendant shall forfeit the defendant's interest in the following property to the United States:
The property specifically described in Forfeiture Count 4.

l‘ayments shall be applied in the following order: (l? assessment (2) restitution principal, (3) restitution interest, (4) fine principall
t 5) fine interest, (6) community restituticn, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

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IN THE UNI'I'ED STA'I'ES DISTRICT CO`URT
FOR THE SOUTHERN DISTRICT OF OBIO

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DISTRIBUTION OF '
THE .TUDGMEN'I' AND COMN.|'ITMENT
WITH THE STATEMENT OF REAS ONS PAGE
AND THE DENIAL OF FEDERAL BENEFITS PAGE

MMEMQ:

DEFENSE COUNSEL
UNITED STATES ATTORNEY
U.S.A. ’S FINANCIAL LITIGATION UNIT
UNITED STATES PROBATION
UNTTED STATES PRETRIAL
UNITED STATES SENTENCING COI\/IMISSION
(IF A TERM OF IMPRISONMENT, THEN ALSO
THE FEDERAL BUREAU OF PRISONS)

'I'HE CLER.K OF COURTS WILL MAIN'I`AIN TI-IE OFFICIAL VERSION

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AND

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THE PUBLIC CASE FILE

 

